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IN THE DISTRICT COURT OF CLEVELAND COUNTY t'
sTATE oF 0KLAHOMA MAY 2 ° 2016
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RITA DIANE BLA.KE, an indivldual ) C 6 Offlce of th
) ourt Cierk RHONDA E{ALL
Plainnff, )
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vs. ) Case No. § ;:§' § )§L Q'~ QQ%" T@
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FAA CREDIT UNION, JUL]E )
GAMBLIN, an lndlvldual, and STEVE )
RASMUSSEN, an individual )
Defendants,

PETITION
COMES NOW the Plaintiff, Rita Diane Blake, and for her cause of action against the
Defendants, FAA Credit Union, an Oklahoma State Chartered Credit Union, Julie Gamblin, an
individual, and Steve Rasmussen, an individual, states as follows:
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l. Plaintiff, Rita Diane Blake, resides in Mustang, Canadian County, Oklahoma.

2. Defendant, FAA Credit Union, is a domestic chartered credit union, with a location in
Cleveland County, Oklahoma, and where the occurrences giving rise to this cause of action
took place.

3. Defendant, Julie Gamblin, is a resident of Ol<lahoma.

4. Defendant, Steve Rasmussen, is a resident of Olclahoma

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5. Plaintiff's claim is for violation of her rights under the Title VII of The Civil Rights Act of

1964, and violation of the Oklahoma Anti-Discrimination Act, 21 O.S. § 1302(A)(l).

6. Venue is proper in this court pursuant to 12 O.S. § 137.

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7. Plaintift` has performed any conditions precedent to iiling this action by filing a charge with
the Equal Employment Opporiunity Commission and a "Notice of Rights" was issued on
February 26, 2016, and has timely filed this action.

Statement of Facts

 

8. On or about July 9, 2012, Plaintifi`, Rita Diane Blake, was hired as the Vice President of
Lending by FAA Credit Union.

9. Plaintiff was employed at Defendant’s, FAA Creciit Union, branch located near Southwest
104m Street and South Westem Avenue in Oklahoma City, Oklahoma.

lO. [n July 2014, Plaintiff experienced an inappropriate sexual conversation involving several of
Defendant’s Marketing and Human Resources employees

ll. The abovementioned experience created an uncomfortable working environment for Plaintii‘i`.

12. Plaintiff immediately reported the witnessed conduct to Julie Gamblin, Vice President of
Hurnan Resources, who commenced investigation

13. On information and belief, Ms. Gamblin determined that the Plaintiff‘s complaint was
substantiated

14. Plaintiti` is only aware of an email sent to the employees involved in regards to remedial
actions taken by Ms. Gamblin.

15. On or about July 23, 2014, Senior Vice President, Glen Fields, relayed his dislike ofPlaintifl"
by entering Plaintiti"s office and stating, “I just don’t like you.” This took place shortly after
Plaintiff made her complaint and Plaintiff believes that this statement was made in retaliation
of the complaint

16. After Plaintift`s complaint, on or about August 4, 2015 , the Senior Vice President of

Operations, Glen Fields, expressed his displeasure that Plaintiff made the complaint to

 

 

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Human Resources and the Senior Vice President told Plaintifi`, "What comes around, goes
around."

Plaintiff believed that this statement was related, and made in retaliation, due to her
complaint.

On or about September 2, 2015, Plaintiff received a Counseling Review Form from President
Steve Rasmussen alleging Plaintiff intimidated and harassed employees belonging to the
Marketing department

Plaintif`f` believes that the Counseling Review Form was given to her in retaliation of her
complaint to Human Resources about Marketing Department employees Plaintiff had not
received a Counseling Review Form prior to her complaint of witnessing a sexual
conversation The Counseling Review Form contained five (5) items on the disciplinary
action plan, which Plaintii’f believes were impossible to accomplish , and were assigned to
her to result in inevitable termination of employment with FAA Credit Union. These five (5)
items required Plaintiff` to not address private or confidential matters involving an employee
in front of other individuals Plaintit`f was required to re&ain from providing directives to
employees working in departments she did not manage; Plaintiff` was required to complete
and submit written project requests to the Vice President of the Marketing Department when
engaging the Marketing Department. Plaintiff` was restricted from confronting employees
working in departments she did not manage and any issues she found were to be dealt with
through the Vice President of the Department, Human Resources, or the President/CEO.
Plaintiff was required to work and consult with senior management team regarding ideas,
plans, or projects, to seek input and resolve conflicts Plaintifi` was also required to work to

gain an understanding and better reflect the culture of' the Credit Union and to foster an

 

 

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atmosphere in which all employees are treated with respect and dignity, along with attending
sensitivity training Plaintii‘f believes that these substantial requirements were in direct
retaliation of` her complaint and aimed to inevitably terminate her employment at FAA Credit
Union.

On or about November 19, 2015, Plaintiff filed a retaliation complaint with the Equal
Employment Opportunity Commission (“EEOC”).

Aiier that, Plaintiff was subjected to further retaliation

On or about February 3, 2016, Plaintif`f’s employment was terminated, stating that an internal
investigation revealed that Plaintift’s continued employment would put Defendant, FAA
Credit Union, at risk.

Her termination was directly related to her first complaint to I-luman Resources, which Julie
Garnblin is the Vice President of, and less than three (3) months after Plaintift` iiled a
retaliation complaint with the EEOC. Defendants further retaliated against Plaintiff when
Def`endants set up an internal investigation in retaliation ofPlaintiff’s complaint This
retaliatory investigation concluded with the termination ofPlaintif`f from Defendant’s, FAA
Credit Union, workplace and was a continued effort to retaliate against Plaintiff for her
complaint

FlRST CAUSE QF ACTION: TITLE VIl OF THE CIVIL RIGHTS ACT

 

Plaintif`f hereby incorporates paragraphs l - 23.
This cause of action is directed towards FAA Credit Union.
Defendant, FAA Credit Union, actions in the retaliation of` Plaintiff due to her reporting

witnessed misconduct constitutes a violation of Title VII of the Civil Rights Act of 1962.

 

 

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27. As a direct and proximate result of Defendant’s actions in terminating Plaintiff, Plaintii`f
suffered injuries and damages, including lost wages (past, present, and future, including
associated benefits) and has suffered mental anguish and emotional distress

28. Plaintiff is entitled to an award of attorney fees and costs under 42 U.S.C. § 12205.

SECOND CAUSE OF ACTION: Y!OLATION OF THE OKLAHOMA ANTI-
DISCRIMINATION ACT. 25 O.S. § 1601(1).

29. Plaintifi` hereby incorporates forgoing paragraphs 1 ~ 28.

30. This cause of action is directed against the FAA Credit Union, , Julie Gamblin, an individual,
and Steve Rasmussen, an individual.

3l. Defendants actions in the retaliation ot`Plaintiff due to her reporting witnessed misconduct
constitutes a violation of the Oklahoma Anti-Discrimination Act, 25 O.S. § 1601(1).

32. Defendants, individually and/or collectively, conspired to retaliate against Plaintiff because
Plaintiii` filed a complaint against Defendant FAA Credit Union. This retaliation is in direct
violation of the Oklahoma Anti-Discn'mination Act, 25 O.S. §1601.

33. As a direct and proximate result of Defendants actions in terminating Plaintiff, Plaintiff
suffered injuries and darnages, including lost wages (past, present, and future, including
associated benefits) and has suffered mental anguish and emotional distress

34. Plaintiff is entitled to an award of attorney fees and costs under the Oklahoma Anti-
Discrimination Act, 2l O.S. § 1350(G)(H).

WHEREFORE, Plaintifl`, Rita Diane Blake, prays for judgment against the Defendants,

FAA Credit Union, Julie Gamblin, and Steve Rasmussen, by declaring the conduct of

Defendants to be in violation of Plaintiff’s statutory rights; awarding Plaintift` for back pay, front

pay, compensatory, liquidated, and other damages herein, as applicable, together with costs, pre~

 

 

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and postjudgment interest and attorney‘s fees against the Defendants-, and any other relief as

may bejust and preper.

Respectful~ly submitted,

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